UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF FLORIDA

CASE NO. 20-6255-STRAUSS
UNITED STATES OF AMERICA
Vs ORDER OF REMOVAL

ROSS CHARNO

 

It appearing that in the Northern District of Ohio a Complaint was filed against
the above-named defendant, that the defendant was arrested in the Southern District
of Florida and was given a hearing before a United States Magistrate Judge at Fort
Lauderdale, Florida, which official committed the defendant for removal to the Northern
District of Ohio.
it 1s ORDERED AND ADJUDGED that the defendant be removed to the above-named district
for trial on said charge.

And it further appearing that the defendant waived further hearing in the said
removal proceedings and was held by the Magistrate Judge for removal and posted bail
in the amount of § [SO Wee Ss CASH/OR Corporate Surety Bond which
was approved by the United States Magistrate Judge, and it is further ORDERED
that the defendant shall appear in the aforesaid district at such times and places
as may be ordered by that District Court, in accordance with the terms and conditions
of aforesaid bail bond furnished by the defendant, and it is further

ORDERED that the funds, plus interest, which may have been deposited on behalf
of this defendant with the Clerk of the Court under Bail Reform Act be transferred
to the district where removed.

DONE AND ORDERED at Fort Lauderdale, Florida this 26th day of JUNE, 2020.

  

STRAUSS
GISTRATE JUDGE

  

cc: Miami, Financial
